            Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 1 of 23




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 9                               UNITED STATES DISTRICT COURT

10                                       DISTRICT OF NEVADA

11
         WESTERN WATERSHEDS PROJECT and
12       the CENTER FOR BIOLOGICAL
         DIVERSITY,
13                 Plaintiffs,
14            v.
                                                            Case No. 2:23-cv-435-CDS-DJA
15       U.S. DEPARTMENT OF THE INTERIOR,
         BUREAU OF LAND MANAGEMENT,
16       JARED BYBEE in his official capacity as            FEDERAL DEFENDANTS’ ANSWER
         Field Manager of the Bureau of Land                TO PLAINTIFFS’ COMPLAINT
17       Management Bristlecone Field Office, and
         ALICIA STYLES, in her official capacity
18       as Acting Field Manager of the Bureau of Land
         Management Caliente Field Office,1
19
                      Defendants.
20

21

22            The United States Department of the Interior (“Interior”), United States Bureau of Land

23   Management (“BLM”), Jared Bybee, in his official capacity as Field Manager of the BLM

24   Bristlecone Field Office, and Alicia Styles, in her official capacity as Acting Field Manager of

25   the BLM Caliente Field Office, (collectively, “Federal Defendants”), hereby state the following

26
     1
27    By operation of Fed. R. Civ. P. 25(d), Alicia Styles is automatically substituted for former Field
     Manager Shirley Johnson as a defendant.
                                                      1
           Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 2 of 23




 1   in response to Plaintiffs’ Complaint. All allegations in the corresponding numbered paragraphs

 2   of this Answer are in response to the allegations in the corresponding numbered paragraphs and

 3   sections of the Complaint. Any allegations not expressly admitted, denied, or qualified are

 4   denied.

 5                                          INTRODUCTION

 6               1.      Federal Defendants admit that Plaintiffs have filed an action challenging the

 7   South Spring Valley and Hamlin Valley Watershed Restoration Plan Decision Record (DR) and

 8   associated Final Environmental Assessment (“EA”) and Finding of No Significant Impact

 9   (FONSI) under the National Environmental Policy Act (“NEPA”), 42 U.S.C. § 4332, the Federal

10   Land Policy and Management Act (“FLPMA”), 43 U.S.C. § 1701-1787, and the Administrative

11   Procedure Act (“”), 5 U.S.C. § 706. Federal Defendants also admit that Bristlecone Field Office

12   Manager Jared Bybee and former Caliente Field Office Manager Shirley Johnson signed the DR

13   on September 28, 2022. Federal Defendants deny any violation of law.

14               2.      Federal Defendants admit the allegations in the first through fourth sentences

15   of Paragraph 2. Federal Defendants admit that the South Spring and Hamlin Valleys contain

16   pinyon and juniper trees, including swamp cedars, but deny the remaining allegations in the fifth

17   sentence of Paragraph 2.

18               3.      Federal Defendants deny the allegations in the first sentence of Paragraph 3.

19   Federal Defendants admit that the DR authorizes treatment methods including the use of dixie

20   harrow and roller chopper, mowing, chaining, mastication, hand treatment, prescribed fire, and

21   chemical treatments, as described in the EA. Federal Defendants deny the remaining allegations

22   in Paragraph 3 insofar as they are inconsistent with the description of the above-referenced

23   treatment methods contained in the EA, which speaks for itself and is the best evidence of its

24   contents.

25               4.      The allegations in Paragraph 4 purport to characterize the EA, which speaks

26   for itself and is the best evidence of its contents. Federal Defendants deny any allegations

27   inconsistent with the plain language, meaning, and context of the EA.

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           Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 3 of 23




 1                 5.    The allegations in the first sentence of Paragraph 5 purport to characterize the

 2   EA and DR, which speak for themselves and are the best evidence of their contents. Federal

 3   Defendants deny any allegations inconsistent with the plain language, meaning, and context of

 4   the EA and DR. Federal Defendants deny the allegations in the second sentence of Paragraph 5.

 5                 6.    The allegations in the first through fifth sentences of Paragraph 6 purport to

 6   characterize FLPMA, the Ely Resource Management Plan (“Ely RMP”), and the EA, which

 7   speak for themselves and are the best evidence of their contents. Federal Defendants deny any

 8   allegations inconsistent with the plain language, meaning, and context of FLPMA, the Ely RMP,

 9   and the EA. Federal Defendants deny the allegations in the sixth sentence of Paragraph 6.

10                 7.    The allegations in Paragraph 7 are a characterization of Plaintiffs’ action to

11   which no response is required. To the extent any response is required, Federal Defendants deny

12   the allegations in this paragraph and deny that Plaintiffs are entitled to any relief.

13                                    JURISDICTION AND VENUE

14                 8.    The allegations in the first, second, and fourth sentences of Paragraph 8 are

15   conclusions of law that require no response. Federal Defendants deny the allegations in the third

16   sentence of Paragraph 8.

17                 9.    The allegations in Paragraph 9 are conclusions of law that require no

18   response. To the extent a response is required, Federal Defendants admit that venue is proper in

19   this Court.

20                 10.   The allegations in Paragraph 10 are conclusions of law that require no

21   response. To the extent a response is required, Federal Defendants admit that venue is proper in

22   this Court.

23                 11.   Federal Defendants deny the allegations in the first sentence of Paragraph 11.

24   Federal Defendants admit the allegations in second sentence of Paragraph 11. The allegations in

25   the third sentence of Paragraph 11 constitute conclusions of law that require no response. To the

26   extent a response is required, Federal Defendants deny the allegations in the third sentence of

27   Paragraph 11.

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           Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 4 of 23




 1                                                  PARTIES

 2                12.     Federal Defendants lack information and knowledge sufficient to form a

 3   belief as to the truth of the allegations in Paragraph 12 and deny them on that basis.

 4                13.     Federal Defendants lack information and knowledge sufficient to form a

 5   belief as to the truth of the allegations in Paragraph 13 and deny them on that basis.

 6                14.     Federal Defendants lack information and knowledge sufficient to form a

 7   belief as to the truth of the allegations in Paragraph 14 and deny them on that basis.

 8                15.     Federal Defendants lack information and knowledge sufficient to form a

 9   belief as to the truth of the allegations in Paragraph 15 and deny them on that basis.

10                16.     Federal Defendants lack information and knowledge sufficient to form a

11   belief as to the truth of the allegations in Paragraph 16 and deny them on that basis.

12                17.     Federal Defendants lack information and knowledge sufficient to form a

13   belief as to the truth of the allegations in the first, second, third, and fifth sentences of

14   Paragraph 17 and deny them on that basis. Regarding the allegations in the fourth sentence of

15   Paragraph 17, Federal Defendants admit that the Bahsawahbee sacred site is located in Spring

16   Valley and is the site of three massacres of Western Shoshone people by the U.S. military but

17   deny that it contains Utah juniper.

18                18.     Federal Defendants lack information and knowledge sufficient to form a

19   belief as to the truth of the allegations in Paragraph 18 and deny them on that basis.

20                19.     Federal Defendants deny that BLM has failed to appropriately manage

21   livestock. Federal Defendants lack information and knowledge sufficient to form a belief as to

22   the truth of the remaining allegations in Paragraph 19 and deny them on that basis.

23                20.     Federal Defendants deny that the Bahsawahbee sacred site is within the

24   Project area. Federal Defendants lack information and knowledge sufficient to form a belief as to

25   the truth of the remaining allegations in Paragraph 20 and deny them on that basis.

26                21.     Federal Defendants deny the allegations in Paragraph 21.

27                22.     Federal Defendants deny the allegations in Paragraph 22.

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           Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 5 of 23




 1               23.     Federal Defendants admit the allegations in Paragraph 23.

 2               24.     Federal Defendants admit the allegations in Paragraph 24.

 3               25.     Federal Defendants admit the allegations in Paragraph 25.

 4               26.     Regarding the allegations in Paragraph 26, Federal Defendants admit that

 5   Shirley Johnson was the Field Manager of the BLM Caliente Field Office at the time the DR was

 6   issued, but aver that Ms. Johnson is no longer employed by BLM.

 7                                      LEGAL BACKGROUND

 8               27.     The allegations in Paragraph 27 purport to characterize the National

 9   Environmental Policy Act (“NEPA”) and its regulations, which speak for themselves and are the

10   best evidence of their contents. Federal Defendants deny any allegations inconsistent with the

11   plain language, meaning, and context of the statute and regulations.

12               28.     The allegations in Paragraph 28 purport to characterize NEPA, which speaks

13   for itself and is the best evidence of its contents. Federal Defendants deny any allegations

14   inconsistent with the plain language, meaning, and context of the statute.

15               29.     The allegations in the first, second, third, and fifth sentences of Paragraph 29

16   purport to characterize NEPA and its regulations, which speak for themselves and are the best

17   evidence of their contents. Federal Defendants deny any allegations inconsistent with the plain

18   language, meaning, and context of the statute and regulations. Federal Defendants admit the

19   allegations in the fourth sentence of Paragraph 29.

20               30.     The allegations in Paragraph 30 purport to characterize NEPA, and its

21   regulations, which speak for themselves and are the best evidence of their contents. Federal

22   Defendants deny any allegations inconsistent with the plain language, meaning, and context of

23   the statute and regulations.

24               31.     The allegations in Paragraph 31 purport to characterize NEPA’s regulations,

25   which speak for themselves and are the best evidence of their contents. Federal Defendants deny

26   any allegations inconsistent with the plain language, meaning, and context of the regulations.

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           Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 6 of 23




 1               32.     The allegations in Paragraph 32 purport to characterize NEPA, which speaks

 2   for itself and is the best evidence of its contents. Federal Defendants deny any allegations

 3   inconsistent with the plain language, meaning, and context of the statute. The allegations in

 4   Paragraph 32 also state legal conclusions, which do not require a response.

 5               33.     The allegations in Paragraph 33 purport to characterize NEPA and its

 6   regulations, which speak for themselves and are the best evidence of their contents. Federal

 7   Defendants deny any allegations inconsistent with the plain language, meaning, and context of

 8   the statute and regulations.

 9               34.     The allegations in Paragraph 34 purport to characterize NEPA and its

10   regulations, which speak for themselves and are the best evidence of their contents. Federal

11   Defendants deny any allegations inconsistent with the plain language, meaning, and context of

12   the statute and regulations.

13               35.     The allegations in Paragraph 35 purport to characterize the Federal Land

14   Policy and Management Act (“FLPMA”), which speaks for itself and is the best evidence of its

15   contents. Federal Defendants deny any allegations inconsistent with the plain language,

16   meaning, and context of the statute.

17               36.     The allegations in Paragraph 36 purport to characterize the provisions of

18   FLPMA and its regulations, which speak for themselves and are the best evidence of their

19   contents. Federal Defendants deny any allegations inconsistent with the plain language,

20   meaning, and context of the statute and regulations.

21               37.     Federal Defendants admit the allegations in the first sentence of

22   Paragraph 37. The remaining allegations in Paragraph 37 purport to characterize the Ely RMP,

23   which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

24   allegations inconsistent with the plain language, meaning, and context of the Ely RMP.

25               38.     The allegations in Paragraph 38 purport to characterize the APA, which

26   speaks for itself and is the best evidence of its contents. Federal Defendants deny any allegations

27   inconsistent with the plain language, meaning, and context of the APA.

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           Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 7 of 23




 1               39.     The allegations in Paragraph 39 purport to characterize the APA, which

 2   speaks for itself and is the best evidence of its contents. Federal Defendants deny any allegations

 3   inconsistent with the plain language, meaning, and context of the APA.

 4               40.     The allegations in Paragraph 40 purport to characterize the APA, which

 5   speaks for itself and is the best evidence of its contents. Federal Defendants deny any allegations

 6   inconsistent with the plain language, meaning, and context of the APA. The allegations in

 7   Paragraph 40 also state legal conclusions, which do not require a response.

 8                                      FACTUAL ALLEGATIONS

 9               41.     Federal Defendants deny the allegations in the first and third through sixth

10   sentences of Paragraph 41. The term “current federal policy” in the second sentence of

11   Paragraph 41 is vague and lacks the necessary context for Federal Defendants to form a belief as

12   to the truth of the allegations in this sentence, and therefore they are denied.

13               42.     Federal Defendants admit the allegations in Paragraph 42.

14               43.     Federal Defendants admit the allegations in the first through fourth sentences

15   of Paragraph 43. Federal Defendants deny the allegations in the fifth sentence of Paragraph 43.

16               44.     Federal Defendants admit the allegations in Paragraph 44.

17               45.     The allegations in Paragraph 45 purport to characterize findings made by the

18   U.S. Fish and Wildlife Service (“FWS”) in 2010, which speak for themselves and are the best

19   evidence of their contents. Federal Defendants deny any allegations inconsistent with the plain

20   language, meaning, and context of the FWS findings.

21               46.     The allegations in Paragraph 46 purport to characterize findings made by the

22   FWS, which speak for themselves and are the best evidence of their contents. Federal Defendants

23   deny any allegations inconsistent with the plain language, meaning, and context of the FWS

24   findings.

25               47.     The allegations in the first and second sentences of Paragraph 47 purport to

26   characterize findings made by the FWS, which speak for themselves and are the best evidence of

27   their contents. Federal Defendants deny any allegations inconsistent with the plain language,

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           Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 8 of 23




 1   meaning, and context of the FWS findings. The allegations in the third sentence of Paragraph 47

 2   are vague and lack the necessary context for Federal Defendants to form a belief as to their truth,

 3   and therefore they are denied. Federal Defendants admit the allegations in the fourth through

 4   sixth sentences of Paragraph 47.

 5               48.     The allegations in Paragraph 48 purport to characterize findings made by the

 6   FWS, which speak for themselves and are the best evidence of their contents. Federal Defendants

 7   deny any allegations inconsistent with the plain language, meaning, and context of the FWS

 8   findings.

 9               49.     The allegations in Paragraph 49 purport to characterize findings made by the

10   FWS, which speak for themselves and are the best evidence of their contents. Federal Defendants

11   deny any allegations inconsistent with the plain language, meaning, and context of the FWS

12   findings.

13               50.     The allegations in Paragraph 50 purport to characterize findings made by the

14   FWS, which speak for themselves and are the best evidence of their contents. Federal Defendants

15   deny any allegations inconsistent with the plain language, meaning, and context of the FWS

16   findings.

17               51.     The allegations in Paragraph 51 purport to characterize findings made by the

18   FWS, which speak for themselves and are the best evidence of their contents. Federal Defendants

19   deny any allegations inconsistent with the plain language, meaning, and context of the FWS

20   findings.

21               52.     The allegations in Paragraph 52 are vague and lack the necessary context for

22   Federal Defendants to form a belief as to their truth, and therefore they are denied.

23               53.     The allegations in Paragraph 53 are vague and lack the necessary context for

24   Federal Defendants to form a belief as to their truth, and therefore they are denied.

25               54.     The allegations in Paragraph 54 purport to characterize findings made by the

26   FWS, which speak for themselves and are the best evidence of their contents. Federal Defendants

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           Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 9 of 23




 1   deny any allegations inconsistent with the plain language, meaning, and context of the FWS

 2   findings.

 3                55.        The allegations in the first, seventh, and eighth sentences of Paragraph 55 are

 4   vague and lack the necessary context for Federal Defendants to form a belief as to their truth, and

 5   therefore they are denied. Federal Defendants admit the second through sixth sentences of

 6   Paragraph 55.

 7                56.        Federal Defendants admit the allegations in the first sentence of

 8   Paragraph 56. The remaining allegations in Paragraph 56 purport to characterize a listing petition

 9   for the pygmy rabbit, which speaks for itself and is the best evidence of its contents. Federal

10   Defendants deny any allegations inconsistent with the plain language, meaning, and context of

11   the listing petition.

12                57.        The allegations in Paragraph 57 are vague and lack the necessary context for

13   Federal Defendants to form a belief as to their truth, and therefore they are denied. Federal

14   Defendants aver that pinyon and juniper forests provide habitat for elk, mule deer, and wild

15   turkey.

16                58.        The allegations in the first sentence of Paragraph 58 are vague and lack the

17   necessary context for Federal Defendants to form a belief as to their truth, and therefore they are

18   denied. Federal Defendants admit the allegations in the second sentence of Paragraph 58.

19                59.        Federal Defendants admit the allegations in Paragraph 59.

20                60.        The allegations in the first, third, and fourth sentences of Paragraph 60 are

21   vague and lack the necessary context for Federal Defendants to form a belief as to their truth, and

22   therefore they are denied. Federal Defendants admit the allegations in the second sentence of

23   Paragraph 60.

24                61.        The allegations in Paragraph 61 purport to characterize the International

25   Union for the Conservation of Nature (“IUCN”) assessment on pinyon jays, which speaks for

26   itself and is the best evidence of its contents. Federal Defendants deny any allegations

27   inconsistent with the plain language, meaning, and context of the IUCN assessment.

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          Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 10 of 23




 1                62.    The allegations in Paragraph 62 are vague and lack the necessary context for

 2   Federal Defendants to form a belief as to their truth, and therefore they are denied. Federal

 3   Defendants aver that climate change has been found to impact pinyon-juniper ecosystems.

 4                63.    The allegations in the first through fifth sentences of Paragraph 63 are vague

 5   and lack the necessary context for Federal Defendants to form a belief as to their truth, and

 6   therefore they are denied. Federal Defendants lack information and knowledge sufficient to form

 7   a belief as to the truth of the allegations in the sixth and seventh sentences of Paragraph 63 and

 8   deny them on that basis.

 9                64.    The allegations in the first through third sentences of Paragraph 64 are vague

10   and lack the necessary context for Federal Defendants to form a belief as to their truth, and

11   therefore they are denied. The allegations in the fourth sentence of Paragraph 64 purport to

12   characterize the EA, which speaks for itself and is the best evidence of its contents. Federal

13   Defendants deny any allegations inconsistent with the plain language, meaning, and context of

14   the EA.

15                65.    The allegations in the first, third, and fourth sentences of Paragraph 65 are

16   vague and lack the necessary context for Federal Defendants to form a belief as to their truth, and

17   therefore they are denied. The allegations in the second sentence of Paragraph 65 purport to

18   characterize findings made by the FWS in 2015, which speak for themselves and are the best

19   evidence of their contents. Federal Defendants deny any allegations inconsistent with the plain

20   language, meaning, and context of the FWS findings.

21                66.    The allegations in the first and third sentences of Paragraph 66 are vague and

22   lack the necessary context for Federal Defendants to form a belief as to their truth, and therefore

23   they are denied. The allegations in the second sentence of Paragraph 66 purport to characterize a

24   specific scientific paper, which speaks for itself and is the best evidence of its contents. Federal

25   Defendants deny any allegations inconsistent with the plain language, meaning, and context of

26   the paper.

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          Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 11 of 23




 1               67.     Federal Defendants admit the allegations in the first, third, and fourth

 2   sentences of Paragraph 67. The allegations in the second sentence of Paragraph 67 are vague

 3   and lack the necessary context for Federal Defendants to form a belief as to their truth, and

 4   therefore they are denied.

 5               68.     The allegations in Paragraph 68 are vague and lack the necessary context for

 6   Federal Defendants to form a belief as to their truth, and therefore they are denied.

 7               69.     The allegations in Paragraph 69 are vague and lack the necessary context for

 8   Federal Defendants to form a belief as to their truth, and therefore they are denied.

 9               70.     Federal Defendants lack information and knowledge sufficient to form a

10   belief as to the truth of the allegations in Paragraph 70 and deny them on that basis.

11               71.     Federal Defendants admit the allegations in the first through fourth sentences

12   of Paragraph 71. Regarding the fifth sentence of Paragraph 71, the allegations are vague and

13   lack the necessary context for Federal Defendants to form a belief as to their truth, and therefore

14   they are denied.

15               72.     Federal Defendants admit the allegations in Paragraph 72.

16               73.     Federal Defendants deny that one third of the Ely District is within the

17   Mojave region. Federal Defendants admit the remaining allegations in Paragraph 73. Federal

18   Defendants aver that the Ely District still supports abundant sage-grouse populations and there

19   are still significant pinyon-juniper woodlands.

20               74.     Federal Defendants deny the allegations in Paragraph 74.

21               75.     Federal Defendants admit the allegations in Paragraph 75. Federal

22   Defendants aver that, prior to adopting the Ely RMP, the Ely District operated under the Schell

23   Management Framework Plan, the Egan Resource Management Plan, and the Caliente

24   Framework Plan; consequently, the Ely RMP was not a revised RMP.

25               76.     The allegations in Paragraph 76 purport to characterize the 2018 Ely RMP

26   Record of Decision (“ROD”), which speaks for itself and is the best evidence of its contents.

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          Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 12 of 23




 1   Federal Defendants deny any allegations inconsistent with the plain language, meaning, and

 2   context of the ROD.

 3               77.    The allegations in Paragraph 77 purport to characterize the Ely RMP

 4   Environmental Impact Statement (“EIS”), which speaks for itself and is the best evidence of its

 5   contents. Federal Defendants deny any allegations inconsistent with the plain language,

 6   meaning, and context of the EIS.

 7               78.    The allegations in Paragraph 78 purport to characterize the Ely RMP EIS,

 8   which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

 9   allegations inconsistent with the plain language, meaning, and context of the EIS.

10               79.    The allegations in Paragraph 79 purport to characterize the Ely RMP EIS,

11   which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

12   allegations inconsistent with the plain language, meaning, and context of the EIS.

13               80.    The allegations in Paragraph 80 purport to characterize the Ely RMP EIS,

14   which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

15   allegations inconsistent with the plain language, meaning, and context of the EIS.

16               81.    The allegations in Paragraph 81 purport to characterize the Ely RMP EIS,

17   which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

18   allegations inconsistent with the plain language, meaning, and context of the EIS.

19               82.    The allegations in Paragraph 82 purport to characterize the 2008 Ely RMP,

20   which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

21   allegations inconsistent with the plain language, meaning, and context of the RMP.

22               83.    The allegations in Paragraph 83 purport to characterize the 2008 Ely RMP

23   and EIS, which speak for themselves and are the best evidence of their contents. Federal

24   Defendants deny any allegations inconsistent with the plain language, meaning, and context of

25   the RMP and EIS.

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          Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 13 of 23




 1               84.     The allegations in Paragraph 84 purport to characterize the Ely RMP EIS,

 2   which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

 3   allegations inconsistent with the plain language, meaning, and context of the EIS.

 4               85.     Federal Defendants admit the allegations in Paragraph 85.

 5               86.     Federal Defendants admit the allegations in the first sentence of

 6   Paragraph 86. The allegations in the second, third, and fourth sentences of Paragraph 86 purport

 7   to characterize a National Technical Team (“NTT”) report entitled “A Report on National

 8   Greater Sage-Grouse Conservation Measures” (“NTT Report”), which speaks for itself and is the

 9   best evidence of its contents. Federal Defendants deny any allegations inconsistent with the

10   plain language, meaning, and context of the NTT Report. The allegations in the fifth sentence of

11   Paragraph 86 purport to characterize a federal district court opinion, which speaks for itself and

12   is the best evidence of its contents. Federal Defendants deny any allegations inconsistent with

13   the plain language, meaning, and context of the opinion.

14               87.     The allegations in Paragraph 87 purport to characterize the NTT Report,

15   which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

16   allegations inconsistent with the plain language, meaning, and context of the NTT Report.

17               88.     The allegations in Paragraph 88 purport to characterize the March 2013

18   Conservation Objectives Team (“COT”) Report, which speaks for itself and is the best evidence

19   of its contents. Federal Defendants deny any allegations inconsistent with the plain language,

20   meaning, and context of the COT Report.

21               89.     The allegations in Paragraph 89 purport to characterize the March 2013 COT

22   Report, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

23   any allegations inconsistent with the plain language, meaning, and context of the COT Report.

24               90.     The allegations in Paragraph 90 purport to characterize the COT Report,

25   which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

26   allegations inconsistent with the plain language, meaning, and context of the COT Report.

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          Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 14 of 23




 1               91.    Federal Defendants admit the allegations in the first sentence of

 2   Paragraph 91. The allegations in the second and third sentences of Paragraph 91 purport to

 3   characterize the BLM’s 2015 Approved Resource Management Plan Amendments (“ARMPAs”)

 4   and the Record of Decision that approved them (“ARMPA ROD”), which speak for themselves

 5   and are the best evidence of their contents. Federal Defendants deny any allegations inconsistent

 6   with the plain language, meaning, and context of the ARMPAs and the ARMPA ROD.

 7               92.    The allegations in Paragraph 92 purport to characterize the ARMPAs and the

 8   ARMPA ROD, which speak for themselves and are the best evidence of their contents. Federal

 9   Defendants deny any allegations inconsistent with the plain language, meaning, and context of

10   the ARMPAs and the ARMPA ROD.

11               93.    The allegations in Paragraph 93 purport to characterize the ARMPAs, which

12   speak for themselves and are the best evidence of their contents. Federal Defendants deny any

13   allegations inconsistent with the plain language, meaning, and context of the ARMPAs.

14               94.    The allegations in Paragraph 94 purport to characterize the Nevada and

15   Northeastern California ARMPA (“Nevada ARMPA”), which speaks for itself and is the best

16   evidence of its contents. Federal Defendants deny any allegations inconsistent with the plain

17   language, meaning, and context of the Nevada ARMPA.

18               95.    The allegations in Paragraph 95 purport to characterize the ARMPAs, which

19   speak for themselves and are the best evidence of their contents. Federal Defendants deny any

20   allegations inconsistent with the plain language, meaning, and context of the ARMPAs.

21               96.    The allegations in Paragraph 96 purport to characterize the ARMPAs, which

22   speak for themselves and are the best evidence of their contents. Federal Defendants deny any

23   allegations inconsistent with the plain language, meaning, and context of the ARMPAs.

24               97.    The allegations in Paragraph 97 purport to characterize the ARMPAs and the

25   ARMPA ROD, which speak for themselves and are the best evidence of their contents. Federal

26   Defendants deny any allegations inconsistent with the plain language, meaning, and context of

27   the ARMPAs and the ARMPA ROD.

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          Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 15 of 23




 1                98.    The allegations in Paragraph 98 purport to characterize the ARMPAs and

 2   ARMPA EIS, which speak for themselves and are the best evidence of their contents. Federal

 3   Defendants deny any allegations inconsistent with the plain language, meaning, and context of

 4   the ARMPAs and ARMPA EIS.

 5                99.    The allegations in Paragraph 99 purport to characterize the ARMPAs and

 6   ARMPA EIS, which speak for themselves and are the best evidence of their contents. Federal

 7   Defendants deny any allegations inconsistent with the plain language, meaning, and context of

 8   the ARMPAs and ARMPA EIS.

 9                100.   The allegations in Paragraph 100 purport to characterize the ARMPAs and

10   the ARMPA ROD, which speak for themselves and are the best evidence of their contents.

11   Federal Defendants deny any allegations inconsistent with the plain language, meaning, and

12   context of the ARMPAs and the ARMPA ROD.

13                101.   The allegations in Paragraph 101 purport to characterize 2015 findings of the

14   FWS, which speak for themselves and are the best evidence of their contents. Federal

15   Defendants deny any allegations inconsistent with the plain language, meaning, and context of

16   the FWS’s findings.

17                102.   Federal Defendants admit the allegations in Paragraph 102.

18                103.   Federal Defendants admit the allegations in the first and second sentences of

19   Paragraph 103. The allegations in the third, fourth, and fifth sentences of Paragraph 103 purport

20   to characterize the Fuel Breaks in the Great Basin Programmatic Environmental Impact

21   Statement (“PEIS”) and the Fuels Reduction and Rangeland Restoration in the Great Basin PEIS,

22   which speak for themselves and are the best evidence of their contents. Federal Defendants deny

23   any allegations inconsistent with the plain language, meaning, and context of those two

24   documents.

25                104.   Federal Defendants admit that the Project authorizes various vegetation

26   removal methods, including chaining, mowing, harrowing, and prescribed fire, but avers that

27   only an average of 32 percent of the 384,414 acres (123,969 acres) of the area is targeted for

                                                     15
          Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 16 of 23




 1   treatment, equating to an estimated 19 percent of the total 637,140- acre watersheds being

 2   targeted for treatment over the life of the Plan. Federal Defendants deny the remaining

 3   allegations in the first sentence of Paragraph 104. Federal Defendants admit the allegations in the

 4   second through fifth sentences of Paragraph 104. The allegations in the sixth sentence of

 5   Paragraph 104 are vague as to the meaning of the Project “entirely surround[ing]” the

 6   Bahsawahbee sacred site and therefore lack the necessary context for Federal Defendants to form

 7   a belief as to their truth and are therefore denied.

 8               105.    Federal Defendants admit the allegations in the first through fourth sentences

 9   of Paragraph 105. The allegations in the fifth sentence of Paragraph 105 purport to characterize

10   the public comment letters on the EA, which speak for themselves and are the best evidence of

11   their contents. Federal Defendants deny any allegations inconsistent with the plain language,

12   meaning, and context of those letters.

13               106.    Federal Defendants admit the allegations in the first sentence of

14   Paragraph 106. Federal Defendants admit that the BLM mailed a copy of the DR, EA, and

15   FONSI by certified U.S. Mail to Plaintiffs, which BLM’s records show was received by a

16   representative of each Plaintiff on October 5, 2022, but deny the remaining allegations in the

17   second and third sentences of Paragraph 106.

18               107.    Federal Defendants admit that the Project authorizes various vegetation

19   removal methods, including chaining, mechanical removal, and mowing, but aver that only an

20   average of 32 percent of the 384,414 acres (123,969 acres) of the area is targeted for treatment,

21   equating to an estimated 19 percent of the total 637,140- acre watersheds being targeted for

22   treatment over the life of the Plan. Federal Defendants deny the remaining allegations in

23   Paragraph 107.

24               108.    The allegations in Paragraph 108 purport to characterize the EA, which

25   speaks for itself and is the best evidence of its contents. Federal Defendants deny any allegations

26   inconsistent with the plain language, meaning, and context of the EA.

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          Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 17 of 23




 1               109.   The allegations in Paragraph 109 purport to characterize the EA, which

 2   speaks for itself and is the best evidence of its contents. Federal Defendants deny any allegations

 3   inconsistent with the plain language, meaning, and context of the EA.

 4               110.   The allegations in Paragraph 110 purport to characterize the EA, which

 5   speaks for itself and is the best evidence of its contents. Federal Defendants deny any allegations

 6   inconsistent with the plain language, meaning, and context of the EA.

 7               111.   The allegations in Paragraph 111 purport to characterize the EA, which

 8   speaks for itself and is the best evidence of its contents. Federal Defendants deny any allegations

 9   inconsistent with the plain language, meaning, and context of the EA.

10               112.   The allegations in Paragraph 112 purport to characterize the EA, which

11   speaks for itself and is the best evidence of its contents. Federal Defendants deny any allegations

12   inconsistent with the plain language, meaning, and context of the EA.

13               113.   The allegations in Paragraph 113 purport to characterize the EA and DR,

14   which speak for themselves and are the best evidence of their contents. Federal Defendants deny

15   any allegations inconsistent with the plain language, meaning, and context of the EA and DR.

16               114.   The allegations in Paragraph 114 purport to characterize the EA and DR,

17   which speak for themselves and are the best evidence of their contents. Federal Defendants deny

18   any allegations inconsistent with the plain language, meaning, and context of the EA and DR.

19               115.   The allegations in the first through third sentences of Paragraph 115 purport

20   to characterize the EA and FONSI, which speak for themselves and are the best evidence of their

21   contents. Federal Defendants deny any allegations inconsistent with the plain language,

22   meaning, and context of the EA and FONSI. Federal Defendants deny the allegations in the

23   fourth sentence of Paragraph 115.

24               116.   The allegations in Paragraph 116 purport to characterize the EA and

25   supporting documents, which speak for themselves and are the best evidence of their contents.

26   Federal Defendants deny any allegations inconsistent with the plain language, meaning, and

27   context of the EA and supporting documents.

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          Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 18 of 23




 1               117.   The allegations in Paragraph 117 purport to characterize the EA and

 2   supporting documents, which speak for themselves and are the best evidence of their contents.

 3   Federal Defendants deny any allegations inconsistent with the plain language, meaning, and

 4   context of the EA and supporting documents.

 5               118.   The allegations in Paragraph 118 purport to characterize the EA and

 6   supporting documents, which speak for themselves and are the best evidence of their contents.

 7   Federal Defendants deny any allegations inconsistent with the plain language, meaning, and

 8   context of the EA and supporting documents.

 9               119.   The allegations in Paragraph 119 purport to characterize the EA and

10   supporting documents, which speak for themselves and are the best evidence of their contents.

11   Federal Defendants deny any allegations inconsistent with the plain language, meaning, and

12   context of the EA and supporting documents.

13               120.   The allegations in Paragraph 120 purport to characterize the EA and

14   supporting documents, which speak for themselves and are the best evidence of their contents.

15   Federal Defendants deny any allegations inconsistent with the plain language, meaning, and

16   context of the EA and supporting documents.

17               121.   The allegations in Paragraph 121 purport to characterize the provisions of the

18   EA and supporting documents, which speak for themselves and are the best evidence of their

19   contents. Federal Defendants deny any allegations inconsistent with the plain language,

20   meaning, and context of the EA and supporting documents.

21               122.   Federal Defendants deny the allegations in Paragraph 122.

22               123.   The allegations in the first and second sentences of Paragraph 123 purport to

23   characterize the EA and the Ely RMP, which speak for themselves and are the best evidence of

24   their contents. Federal Defendants deny any allegations inconsistent with the plain language,

25   meaning, and context of the EA and Ely RMP. Federal Defendants deny the allegations in the

26   third sentence of Paragraph 123.

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          Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 19 of 23




 1               124.    The allegations in the first through sixth sentences of Paragraph 124 purport

 2   to characterize the EA and Ely RMP, which speak for themselves and are the best evidence of

 3   their contents. Federal Defendants deny any allegations inconsistent with the plain language,

 4   meaning, and context of the EA and Ely RMP. The allegations in the seventh sentence of

 5   Paragraph 124 are legal conclusions to which no response is required. To the extent any

 6   response is required, Federal Defendants deny the allegations.

 7               125.    The allegations in Paragraph 125 purport to characterize the EA and

 8   supporting documents, which speak for themselves and are the best evidence of their contents.

 9   Federal Defendants deny any allegations inconsistent with the plain language, meaning, and

10   context of the EA and supporting documents.

11               126.    The allegations in Paragraph 126 purport to characterize the EA and

12   supporting documents, which speak for themselves and are the best evidence of their contents.

13   Federal Defendants deny any allegations inconsistent with the plain language, meaning, and

14   context of the EA and supporting documents.

15               127.    The allegations in the first, fourth, and fifth sentences of Paragraph 127

16   purport to characterize the EA and supporting documents, which speak for themselves and are

17   the best evidence of their contents. Federal Defendants deny any allegations inconsistent with

18   the plain language, meaning, and context of the EA and supporting documents. The allegations

19   in the second and third sentences of Paragraph 127 are vague and lack the necessary context for

20   Federal Defendants to form a belief as to their truth, and therefore they are denied.

21               128.    The allegations in the first, fourth, and fifth sentences and the third clause of

22   the third sentence of Paragraph 128 purport to characterize the EA and supporting documents,

23   which speak for themselves and are the best evidence of their contents. Federal Defendants deny

24   any allegations inconsistent with the plain language, meaning, and context of the EA and

25   supporting documents. The allegations in the second sentence and the first and second clauses

26   the third sentence of Paragraph 128 are vague and lack the necessary context for Federal

27   Defendants to form a belief as to their truth, and therefore they are denied.

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          Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 20 of 23




 1               129.    The allegations in the first, second, and fourth sentences of Paragraph 129

 2   purport to characterize FLPMA, the Ely RMP, and the EA and its supporting documents, which

 3   speak for themselves and are the best evidence of their contents. Federal Defendants deny any

 4   allegations inconsistent with the plain language, meaning, and context of FLPMA, the Ely RMP,

 5   and the EA and its supporting documents. Federal Defendants deny the remaining allegations in

 6   Paragraph 129.

 7               130.    Federal Defendants deny the allegations in the first and second sentences of

 8   Paragraph 130. The allegations in the third, fifth, and sixth sentences of Paragraph 130 purport

 9   to characterize the provisions of the EA and supporting documents, which speak for themselves

10   and are the best evidence of their contents. Federal Defendants deny any allegations inconsistent

11   with the plain language, meaning, and context of the EA and supporting documents. The

12   allegations in the fourth sentence of the Paragraph 130 are vague and lack the necessary context

13   for Defendants to form a belief as to their truth, and therefore they are denied.

14               131.    Federal Defendants deny the allegations in the first sentence of

15   Paragraph 131. The allegations in the second and third sentences purport to characterize the EA

16   and supporting documents, which speak for themselves and are the best evidence of their

17   contents. Federal Defendants deny any allegations inconsistent with the plain language,

18   meaning, and context of the EA and supporting documents.

19               132.    The allegations in the first through third and fifth through seventh sentences

20   of Paragraph 132 purport to characterize the EA and supporting documents, which speak for

21   themselves and are the best evidence of their contents. Federal Defendants deny any allegations

22   inconsistent with the plain language, meaning, and context of the EA and supporting documents.

23   The allegations in the fourth sentence of Paragraph 132 are vague and lack the necessary context

24   for Federal Defendants to form a belief as to their truth, and therefore they are denied.

25               133.    The allegations in Paragraph 133 purport to characterize the EA and

26   supporting documents, which speak for themselves and are the best evidence of their contents.

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          Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 21 of 23




 1   Federal Defendants deny any allegations inconsistent with the plain language, meaning, and

 2   context of the EA and supporting documents.

 3               134.    Federal Defendants admit that the BLM has represented that Fall 2023 would

 4   be the earliest that any potential action under the Plan would be implemented, but deny the

 5   remaining allegations in Paragraph 134.

 6                                    FIRST CLAIM FOR RELIEF

 7               135.    Federal Defendants hereby incorporate their responses to all preceding

 8   paragraphs set forth above.

 9               136.    The allegations in Paragraph 136 purport to characterize NEPA and its

10   regulations, which speak for themselves and are the best evidence of their contents. Federal

11   Defendants deny any allegations inconsistent with the plain language, meaning, and context of

12   NEPA and its regulations.

13               137.    The allegations in the first and second sentences of Paragraph 137 purport to

14   characterize the EA and supporting documents, which speak for themselves and are the best

15   evidence of their contents. Federal Defendants deny any allegations inconsistent with the plain

16   language, meaning, and context of the EA and supporting documents. Federal Defendants deny

17   the allegations in the third sentence of Paragraph 137.

18               138.    Federal Defendants deny the allegations in Paragraph 138.

19               139.    Federal Defendants deny the allegations in Paragraph 139.

20                                  SECOND CLAIM FOR RELIEF

21               140.    Federal Defendants hereby incorporate their responses to all preceding

22   paragraphs set forth above.

23               141.    The allegations in Paragraph 141 purport to characterize FLPMA, which

24   speaks for itself and is the best evidence of its contents. Federal Defendants deny any allegations

25   inconsistent with the plain language, meaning, and context of FLPMA.

26               142.    The allegations in Paragraph 142 purport to characterize the 2015 ARMPA

27   and 2008 Ely RMP, which speak for themselves and are the best evidence of their contents.

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          Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 22 of 23




 1   Federal Defendants deny any allegations inconsistent with the plain language, meaning, and

 2   context of the 2015 ARMPA and 2008 Ely RMP.

 3                143.    Federal Defendants deny the allegations in the first sentence of

 4   Paragraph 143. The allegations in the second, third, and fourth sentences of Paragraph 142

 5   purport to characterize the EA, FONSI, and DR, which speak for themselves and are the best

 6   evidence of their contents. Federal Defendants deny any allegations inconsistent with the plain

 7   language, meaning, and context of the EA, FONSI, and DR.

 8                144.    Federal Defendants deny the allegations in Paragraph 144.

 9                                         PRAYER FOR RELIEF

10           The remainder of Plaintiffs’ Complaint constitutes Plaintiffs’ request for relief, to which

11   no response is required. To the extent a response is required, Federal Defendants deny that

12   Plaintiffs are entitled to the relief sought or any form of relief.

13                                           GENERAL DENIAL
             Federal Defendants deny any allegations of the Amended Complaint, whether express or
14
     implied, not specifically admitted, denied, or qualified herein.
15
                                                  DEFENSES
16

17   1.      Plaintiffs fail to state a claim upon which relief may be granted.

18   2.      Plaintiffs have failed to exhaust administrative remedies for some or all of their claims.

19   3.      Plaintiffs lack standing for some or all of their claims.
20

21           WHEREFORE, Federal Defendants respectfully pray that this Court deny in all
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     respects Plaintiffs’ Prayer for Relief, dismiss Plaintiffs’ Complaint, enter judgment for Federal
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     Defendants, and grant to Federal Defendants such other relief as may be appropriate.
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     Case 2:23-cv-00435-CDS-DJA Document 10 Filed 06/02/23 Page 23 of 23




 1    Respectfully submitted this 2nd day of June 2023.

 2
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